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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

                                         :
IN RE: OIL SPILL by the OIL RIG          :
       “DEEPWATER HORIZON” in the        : MDL No. 2179
       GULF OF MEXICO, on                :
       APRIL 20, 2010                    :
                                         :
This Pleading Applies To:                : SECTION: J
MDL 2179 B1 Amended Master Complaint And :
All Cases In Pleading Bundle B1          :
                                         : JUDGE BARBIER
                                         : MAGISTRATE SHUSHAN
This Pleading Applies To:                :
No. 10-2771 (Limitation Action)          :
--------------------------------------------------------------------

                 BP DEFENDANTS’ MEMORANDUM IN SUPPORT OF
             MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL
                           UNDER 28 U.S.C. § 1292(b)


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                                              INTRODUCTION

         The BP Defendants respectfully request that this Court certify for interlocutory review

one aspect of its B1 Order denying a portion of BP’s motion to dismiss the B1 Master Complaint

— the Court’s holding that the Oil Pollution Act (“OPA”) does not entirely displace general

maritime claims against OPA Responsible Parties. (Doc. 3830, at 26-27 (“B1 Order”).)1 The BP

Defendants respectfully submit that the Court’s holding on this issue “involves a controlling

question of law as to which there is substantial ground for difference of opinion and . . . an

immediate appeal from the order may materially advance the ultimate termination of the

litigation.” 28 U.S.C. § 1292(b). Certification for interlocutory review on this narrow but

critical issue is therefore warranted.

         First, there can be no dispute that the Court’s holding implicates a “controlling question

of law.” The Court held that “OPA does not displace general maritime law claims for those

Plaintiffs who would have been able to bring such claims prior to OPA’s enactment.” B1 Order

27. That is a purely legal issue dispositive of whether Plaintiffs may bring maritime claims

against OPA Responsible Parties.

         Second, there is a “substantial ground” for disagreeing with the Court’s holding, because

it is directly contrary to the leading cases on this issue. As the Court recognized, the First Circuit

Court of Appeals and another Judge within this District have both held that OPA displaces

maritime claims, including claims seeking “punitive damages [that are] not available under

1
  The B3 Master Complaint [Doc. 881] and the Amended B3 Master Complaint [Doc. 1805-1] are focused on
personal injury claims, but also appear to assert claims for property damage [Doc. 881, Intro. at 3, ¶¶ 175, 181, 234-
35, 242; Doc. 1805-1, ¶¶ 203, 255-56, 263]. See also Doc. 1406-1, at 25-26 (the BP Defendants’ B3 motion to
dismiss arguing that OPA displaces any property damage claims asserted in the B3 Master Complaint). The Court’s
Amended B3 Order [Doc. 4209] appears to read the B3 complaints as limited to personal injury claims. See
Amended B3 Order 2. Given the potential ambiguity over whether the allegations in the B3 complaints overlap with
the B1 Master Complaint, however, the BP Defendants respectfully request that, to the extent any property damage
claims are deemed properly advanced under the B3 Master Complaint rubric, the Court grant certification of the
Amended B3 Order on the displacement issue as well.
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OPA.” B1 Order 22-23 (citing South Port Marine, LLC v. Gulf Oil Ltd. P’ship, 234 F.3d 58 (1st

Cir. 2000), and Gabarick v. Laurin Maritime (Am.) Inc., 623 F. Supp. 2d 741, 747 (E.D. La.

2009)). Neither opinion can be reconciled with the Court’s holding. Indeed, several other courts

have reached a conclusion on OPA displacement contrary to that reached by this Court. See,

e.g., Clausen v. M/V New Carissa, 171 F. Supp. 2d 1127 (D. Or. 2001). By contrast, the Court

cited no case (and we are aware of none) holding that OPA fails to displace maritime claims

against OPA Responsible Parties, including punitive damage claims under maritime law.

          Instead, the Court rested its holding on two “more recent Supreme Court precedents,”

which have (according to the Court) undermined the uniform lower-court case law on OPA

displacement. See B1 Order 23. Respectfully, the Court’s argument does not withstand scrutiny.

Neither case on which this Court relied addresses the question whether OPA displaces maritime

claims.     To the contrary, the cases address arguments for common-law displacement and

statutory regimes — the Clean Water Act and the Jones Act — that are materially different from

OPA and the competing positions at stake in this enormous collection of Deepwater Horizon

cases. At the very least, the BP Defendants have set forth a “substantial ground” for disagreeing

with the Court’s application of Supreme Court case law and the Court’s rejection of South Port

Marine and Gabarick. This is especially true since the Court held that OPA does partially

displace maritime law, insofar as OPA establishes an across-the-board presentment procedure

that the Court determined both OPA claims and maritime law claims alike must meet. B1 Order

26. No other court has ever found OPA to partially displace maritime law in that fashion.

          Third, an immediate appeal of this issue would “materially advance the ultimate

termination of the litigation.” This complex MDL proceeding could go on for years, only for the

controlling legal issues presented here to be resolved in a subsequent appeal long hence. Indeed,



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interlocutory appeal is especially useful and appropriate in a multi-district litigation such as this,

since “the certification procedure of 28 U.S.C. § 1292(b) was intended specifically to expedite

the disposition of ‘big’ cases.” Zenith Radio Corp. v. Matsushita Elec. Indus. Co., 494 F. Supp.

1190, 1243-44 (E.D. Pa. 1980) (citing legislative history from the Judicial Conference, which

drafted the statute, and the House Judiciary Committee). With some frequency, the Fifth Circuit

hears interlocutory appeals from motions to dismiss and summary judgment motions in large,

groundbreaking cases like this one, see, e.g., In re Katrina Canal Breaches Litig., 495 F.3d 191,

204 (5th Cir. 2007), and indeed has resolved legal questions specifically regarding OPA via the

1292(b) procedure, see, e.g., In re Taira Lynn Marine Ltd. No. 5, LLC, 444 F.3d 371, 376 (5th

Cir. 2006) (accepting and resolving, inter alia, OPA Section 2702(a) & (b)(2) issues). See also

Strong v. B.P. Exploration & Prod., Inc., 440 F.3d 665, 668 (5th Cir. 2006) (acting similarly to

resolve OCSLA issues).

          Accordingly, certification is appropriate to give the Fifth Circuit the opportunity to

address this Court’s interpretation of Supreme Court case law regarding this exceptionally

important issue and to allow the Court of Appeals to decide for itself whether to agree with the

First Circuit in South Port Marine.

                                         BACKGROUND

          In the B1 Order, this Court set out the types of claims that the over 100,000 individual

private plaintiffs in MDL 2179 have brought for economic loss and property damages. See B1

Order 1. Plaintiffs’ B1 Complaint had alleged claims under general maritime law, OPA, and

various state laws, seeking punitive damages under all claims. See id. at 2-3. In relevant part,

the B1 Order reaches two important holdings with respect to OPA displacement of maritime

claims.



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         First, the B1 Order holds that “[t]o allow a general maritime claim against the

Responsible Party would serve to frustrate and circumvent the remedial scheme in OPA.”

B1 Order 26.          The Court reasoned that “OPA is a comprehensive statute addressing

responsibility for oil spills, including the cost of clean up, liability for civil penalties, as well as

economic damages incurred by private parties and public entities.” Id. at 20-21. And the Court

quoted a Senate Report explaining that OPA “create[s] a single Federal law providing cleanup

authority, penalties, and liability for oil pollution.” Id. at 21 (quoting S. Rep. No. 101-94, at 730

(1989)). The Court therefore recognized that OPA established a new “presentment” process that

the B1 Plaintiffs must follow. Specifically, “claimants’ maritime causes of action against a

Responsible Party are displaced by OPA, such that all claims against a Responsible Party for

damages covered by OPA must comply with OPA’s presentment procedure.” Id. at 26; see also

id. at 27 (“claims against the Responsible Party must comply with OPA’s procedure, regardless

of whether there is also a cause of action against the Responsible Party under general maritime

law”).

         Second — notwithstanding the Court’s holding that allowing a general maritime claim

against an OPA Responsible Party “frustrate[s] and circumvent[s] the remedial scheme in OPA”

— the Court determined that “OPA does not displace general maritime law claims for those

Plaintiffs who would have been able to bring such claims prior to OPA’s enactment” and that

Plaintiffs may therefore “assert plausible claims for punitive damages” against Responsible

Parties. Id. at 27.

         In reaching this conclusion, the Court recognized that its holding was out of step with

other courts that have addressed the same issue. As the Court put it, a “handful of courts have

had the opportunity to address whether OPA displaces general maritime law,” id. at 22, and those



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cases have uniformly held that OPA displaces maritime claims, including claims for punitive

damages, see id. at 22-23. The Court did not cite any cases that have held OPA does not displace

maritime claims for punitive damages. Instead, it based its holding on the belief that “more

recent Supreme Court precedents cause this Court to question the notion that long-standing

federal common law can be displaced by a statute that is silent on the issue.” Id. at 23.

       The Court reasoned that, under the Supreme Court precedents it identified, because “OPA

does not mention punitive damages,” “while punitive damages are not available under OPA, the

Court does not read OPA’s silence as meaning that punitive damages are precluded under

general maritime law.” Id. at 26. As a result, the Court adopted, in essence, a clear statement

rule requiring Congress to speak directly to the issue before displacement can occur. See id.

(“Congress knows how to proscribe punitive damages when it intends to, as it did in the

commercial aviation exception under the Death on the High Seas Act, 46 U.S.C. § 30307(b).”).

                                           ARGUMENT

       A.      The Court’s Determination That OPA Does Not Displace Maritime Claims
               Against Responsible Parties Is An Important, Controlling Question Of Law.

       The Court’s holding that OPA does not displace maritime claims against Responsible

Parties, including claims for punitive damages, is an important, controlling question of law. As a

practical matter, if the BP Defendants are correct, then Plaintiffs’ maritime claims against them

must be dismissed.        That is precisely the sort of “make-or-break” issue for which

Section 1292(b) was tailor-made.        See, e.g., Sokaogon Gaming Entm’t Corp. v. Tushie-

Montgomery Assocs., Inc., 86 F.3d 656, 659 (7th Cir. 1996) (“A question of law may be deemed

‘controlling’ if its resolution is quite likely to affect the further course of the litigation, even if

not certain to do so.”). And there is no question that the issue is a purely legal one that controls

whether Plaintiffs may bring maritime claims against the BP Defendants.


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         B.       There Is Substantial Ground For Disagreement With The Court’s Ruling.

         There can also be little question that the BP Defendants have substantial grounds to

disagree with the Court’s holding on this issue. The B1 Order itself acknowledges that federal

courts have uniformly held that OPA displaces federal common-law claims for damages covered

by OPA, such as Plaintiffs’ maritime claims against BP, see B1 Order 22-23, citing no cases that

have reached a contrary conclusion.2

         These precedents are clear. In South Port Marine, the First Circuit squarely held that

“punitive damages were not available under OPA.” B1 Order 22. The First Circuit reasoned —

much like the B1 Order itself (at 20-21) — that “Congress established a comprehensive federal

scheme for oil pollution liability.” South Port Marine, 234 F.3d at 64. The First Circuit further

observed that, as part of that comprehensive scheme, OPA sets “forth a comprehensive list of

recoverable damages” and that “[a]bsent from that list of recoverable damages is any mention of

punitive damages.” Id.; see also B1 Order 22 (quoting this language from South Port Marine).

OPA is a “comprehensive” statute whose “text . . . implies its mandatory and exclusive nature.”

Gabarick, 623 F. Supp. 2d at 745. Under the “plain language of the statute,” OPA “applies to

the damages listed in § 2702, which also specifically references its exclusive nature with respect

to other provisions of law: ‘Notwithstanding any other provision or rule of law, and subject to

the provisions of this Act . . . .’” Id. at 746 (quoting 33 U.S.C. § 2702(a)). Under these

2
  Indeed, even an important party adverse to the BP Defendants in this litigation agrees with core aspects of BP’s
position on displacement. The State of Louisiana has explained in two separate briefs filed with the Court that
“OPA was intended to displace all existing federal oil spill liability and compensation laws in favor of a
comprehensive solution.” (State of Louisiana’s Br. Regarding the Effects of the Court’s Order on the B1 Master
Complaint, at 2-3 [Doc. 4001]; see also State of Louisiana’s Mem. of Law in Interest in and Opposition to
Defendants’ Pending Motions to Dismiss 14-15 (explaining that “OPA provides a single federal law providing clean
up authority, penalties, and liability for oil pollution,” that “OPA was intended by Congress to be the exclusive
federal statute governing oil spills,” and that “OPA occupies the entire field of federal legislation with respect to
liability for oil discharges to navigable waters”) [Doc. 1993].) In the State of Louisiana’s words, “[t]he enactment of
a comprehensive federal rule in an area of national concern by Congress generally trumps federal common law and
admiralty claims, unless expressly preserved.” (Doc. 4001, at 2 n.3.) Finally, the State of Louisiana favorably cited
South Port Marine and Gabarick, two opinions that conflict with this Court’s analysis of the displacement issue.


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circumstances, “it would be no more appropriate to prescribe a different measure of damage than

to prescribe a different statute of limitations, or a different class of beneficiaries.” South Port

Marine, 234 F.3d at 65. Thus, Congress “intended the enactment of the OPA to supplant the

existing general admiralty and maritime law” for damages covered by OPA Section 2702. Id.3

          The Court, however, chose not to follow these precedents, concluding instead that,

because OPA “does not mention punitive damages,” it was not intended to displace maritime law

on the topic of punitive damages. B1 Order 26. That reasoning squarely conflicts with South

Port Marine and Gabarick.            In essence, the Court’s holding mistakenly applies a “clear

statement” rule for displacement of punitive damages under OPA — and, by doing so, inverts the

traditional and controlling Supreme Court rule that there is a presumption in favor of

displacement of common-law claims when a new federal statute is adopted to control a particular

subject area. See, e.g., City of Milwaukee v. Illinois & Michigan, 451 U.S. 304, 317 (1981). As

a unanimous Supreme Court put it this past Term, “[l]egislative displacement of federal common

law does not require the ‘same sort of evidence of a clear and manifest [congressional] purpose’

demanded for preemption of state law.” American Elec. Power Co. v. Connecticut, 131 S. Ct.

2527, 2531 (2011). The “relevant question for purposes of displacement is ‘whether the field has

been occupied, not whether it has been occupied in a particular manner.’” Id. at 2538 (emphasis

added).

          This Court claimed to find support for its holding in “more recent Supreme Court

precedents” that “cause[d] [the Court] to question the notion that long-standing federal common

law can be displaced by a statute that is silent on the issue.” B1 Order 23. That view can readily

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  See also Tanguis v. M/V Westchester, 153 F. Supp. 2d 859, 867 (E.D. La. 2001); Nat’l Shipping Co. of Saudi
Arabia v. Moran Mid-Atl. Corp., 924 F. Supp. 1436, 1447 (E.D. Va. 1996), aff’d, 122 F.3d 1062 (4th Cir. 1997),
cert. denied, 523 U.S. 1021 (1998); In re Settoon Towing, No. 07-1263, 2009 WL 4730971, at *3 (E.D. La. Dec. 4,
2009).


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be questioned and BP believes it to be mistaken. Neither Exxon Shipping Co. v. Baker, 554 U.S.

471 (2008), nor Atlantic Sounding Co. v. Townsend, 129 S. Ct. 2561 (2009), interpret OPA.

Neither case purports to alter Milwaukee’s presumption in favor of displacement — as the

Supreme Court’s reaffirmance of Milwaukee in American Electric Power, coming after both

Exxon Shipping and Townsend, makes clear. Neither case can be read to carve out and preserve

from displacement the ability to recover punitive damages as a maritime law remedy for

plaintiffs seeking to recover damages that fall within the ambit of OPA Section 2702. And

neither case supports the distinction the Court drew in finding that OPA partially displaces

maritime law (on the question of presentment), but does not otherwise provide an exclusive set

of compensatory federal oil spill remedies.

       In Baker, the Supreme Court addressed Exxon’s “untenable claim” that the Clean Water

Act “somehow preempts punitive damages, but not compensatory damages, for economic loss.”

554 U.S. at 489. The Court rejected this claim pointing out that it “fragment[ed] the recovery

scheme,” and that the Court had “rejected similar attempts to sever remedies from their causes of

action.” Id. Here, unlike in Baker, all courts considering the issue interpret OPA to displace all

maritime law remedies for damages covered by OPA Section 2702, not only the maritime

remedy of punitive damages. By contrast, it is the B1 Order that establishes a “fragmented

recovery scheme,” by holding that “OPA does displace general maritime law claims against

Responsible Parties, but only with regard to procedure (i.e., OPA’s presentment requirement).”

B1 Order 38. OPA sets forth a comprehensive statutory scheme that speaks directly to all of the

maritime claims the Plaintiffs seek to bring against Responsible Parties — as numerous courts

have already held.




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       In Townsend, the Supreme Court held that the Jones Act “created a statutory cause of

action for negligence, but did not eliminate pre-existing remedies available to seamen for the

separate common-law cause of action based on a seaman’s right to maintenance and cure.” 129

S. Ct. at 2570 (emphasis added). The Court found instructive the fact that the Jones Act

“bestows upon the injured seaman the right to ‘elect’ to bring a Jones Act claim, thereby

indicating a choice of actions for seamen — not an exclusive remedy.” Id. (reasoning that the

statutory language allowing for “election” indicates that “Congress was envisioning the

continued availability of [maritime] common-law causes of action”). That holding, however, is

inapplicable here for two reasons. First, OPA is a far more comprehensive statute than the Jones

Act, which “was enacted in 1920 to fill a gap in maritime law’s fabric of protections for

seamen.” David W. Robertson, Punitive Damages in U.S. Maritime Law: Miles, Baker, and

Townsend, 70 LA. L. REV. 463, 471 (2010).

       Moreover, unlike the Jones Act at issue in Townsend, OPA does not contain any statutory

language permitting Plaintiffs to “elect” to bring OPA claims, in lieu of some other preexisting

federal common-law claims. To the extent that OPA refers to “election” at all, it speaks only of

a choice that claimants have to seek a recovery from the Oil Spill Liability Trust Fund or from a

Responsible Party — both aspects of the self-contained and expansive set of OPA remedies. See

33 U.S.C. § 2713(c). Congress provided no “election” of any kind as to additional common law

remedies.

       In this regard, South Port Marine correctly relies on Miles v. Apex Marine Corp., 498

U.S. 19 (1990). As the Supreme Court explained in Townsend, Miles held that “[i]t would have

been illegitimate to create common-law remedies that exceeded those remedies statutorily

available under the Jones Act and [the Death on the High Seas Act].” 129 S. Ct. at 2572. That



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is exactly the principle the First Circuit applied in South Port Marine.       In Townsend, the

Supreme Court reaffirmed Miles, explaining that its reasoning is “sound,” id., but was not

applicable in Townsend because “the Jones Act does not address maintenance and cure or its

remedy,” id. By contrast, the reasoning in Miles is applicable here; OPA, unlike the Jones Act,

contains no language about “election” of an OPA remedy, and is a comprehensive scheme that

displaces maritime claims.

       In short, when Congress enacts a comprehensive statute on a subject previously

controlled by federal common law, the federal statute controls and displaces the federal common

law. OPA is such a comprehensive statute, and thus entirely (not selectively) displaces pre-

existing federal common law, including maritime law, for claims covered by OPA. As a result,

OPA provides the sole remedy for plaintiffs asserting economic loss and property damage claims

against OPA Responsible Parties.

       C.      An Immediate Appeal From The B1 Order Would Materially Advance The
               Ultimate Resolution Of This Complex MDL Proceeding.

       Finally, certification of the question presented “may materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(b). Courts across the country have recognized

that this statutory element is satisfied where, as here, “immediate appeal would conserve judicial

resources and spare the parties from possibly needless expense if it should turn out that [the

district court’s] rulings are reversed.” APCC Servs., Inc. v. AT&T Corp., 297 F. Supp. 2d 101,

109 (D.D.C. 2003). Indeed, interlocutory appeal is especially useful and appropriate in a multi-

district litigation such as this, since “the certification procedure of 28 U.S.C. § 1292(b) was

intended specifically to expedite the disposition of ‘big’ cases.”     Zenith Radio Corp., 494

F. Supp. at 1244.




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       Here, despite the Court’s best efforts, this complex MDL proceeding could stretch on,

only for the controlling legal issues presented here to be resolved on a subsequent appeal many

years off into the future. Whether OPA must explicitly provide that maritime law is displaced in

order for such common law to in fact be displaced is an important issue that may have further

ramifications for other maritime-law issues in this litigation that have not yet been refined by

concentrated motions practice. The BP Defendants count at least 72 individual complaints that

advance maritime claims of varying types. See Appendix (listing complaints). Moreover, since

the Amended B1 Master Complaint invokes maritime law, all of the subsequently filed short-

form joinders, inherently invoke maritime law.

       In order to adjudicate each of those complaints, this Court would have to determine

whether OPA displaces each part of the claim using the analysis that it undertook in determining

that (i) OPA does not displace maritime punitive damages claims because it does not mention

them, but (ii) does establish a universally applicable presentment requirement. It makes little

sense for the parties and this Court to incur the relevant costs of such contests when a pivotal and

foundational legal question, if decided differently, could resolve or simplify the case in

substantially less time and with decreased expense. See Charles A. Wright et al., 16 FED. PRAC.

& PROC. 2d § 3930 (2004) (“[t]he advantages of immediate appeal increase with . . . the length of

the district court proceedings saved by reversal of an erroneous ruling . . . and the substantiality

of the burdens imposed on the parties by a wrong ruling”).

       Moreover, as the B1 Order recognizes, OPA’s “intent is to encourage settlement and

reduce the need for litigation.” B1 Order 21. In part, settlement is encouraged through the OPA

presentment process, by which “[c]laimants present their claims to the Responsible Party, who

pays the claims and is then allowed to seek contribution from other allegedly liable parties.” Id.



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It is difficult, however, to reach settlements on individual OPA claims in light of the uncertainty

engendered by this Court’s displacement holding, which brings into play an extra-OPA body of

complex federal common law. An immediate appeal to the Fifth Circuit, therefore, will advance

one of OPA statute’s central goals — the speedy and efficient resolution of individual claims.

       In this regard, the BP Defendants are aware that the Court has scheduled a trial on Phase I

of the MDL litigation for February 2012. The BP Defendants do not request a stay of this action

or a postponement of that trial date while the requested appeal is pending. An immediate appeal

of the certified question thus would not delay MDL 2179, but rather would ensure that any

follow-on holdings of this Court during the trial are consistent with applicable law as clarified by

the appellate court. If the Fifth Circuit were to hold either that plaintiffs’ maritime claims are

generally displaced or that plaintiffs’ claims for punitive damages are specifically displaced, the

issues for both the Phase I trial and for the MDL as a whole would be greatly simplified.




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                                       CONCLUSION

       For these reasons, the BP Defendants respectfully request that the Court certify for the

Fifth Circuit’s interlocutory review under 28 U.S.C. § 1292(b) the question whether OPA

displaces general maritime claims against OPA Responsible Parties.



Date: October 13, 2011                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 13th day of October 2011.

                                                         /s/ Don K. Haycraft
                                                         Don K. Haycraft
